       Case 1:19-cv-02215-JPW Document 76 Filed 02/24/22 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
P.H. GLATFELTER COMPANY,               :    Civil No. 1:19-CV-02215
                                       :
            Plaintiff,                 :
                                       :
            v.                         :
                                       :
BABCOCK & WILCOX POWER                 :
GENERATION GROUP, INC.,                :
                                       :
            Defendant.                 :    Judge Jennifer P. Wilson
                 AMENDED CASE MANAGEMENT ORDER
      AND NOW, on this 24th day of February, 2022, as requested by the parties

during a telephone conference held on this date, IT IS ORDERED that the

amended case management deadlines are as follows:

      Fact discovery:                               April 29, 2022
      Plaintiff’s expert reports:                   May 26, 2022
      Defendant’s expert reports:                   June 27, 2022
      Supplemental and rebuttal expert reports:     July 10, 2022
      Expert discovery:                             August 8, 2022
      Dispositive motions and supporting briefs:    September 5, 2022

                                   s/Jennifer P. Wilson
                                   JENNIFER P. WILSON
                                    United States District Court Judge
                                   Middle District of Pennsylvania
